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                                                                                                   U.S. BANKRUPTCY COURT

                                                                                                 NORTHERN DISTRICT OF TEXAS


                                                                                                    ENTERED
                                                                                                 TAWANA C. MARSHALL, CLERK
                                                                                                    THE DATE OF ENTRY IS
                                                                                                   ON THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.



Signed May 12, 2014
                                           United States Bankruptcy Judge
 ______________________________________________________________________



                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                                 §
         IN RE:                                                  §
                                                                 §        CASE NO. 14-30699-11
         BUFFET PARTNERS, L.P., et al.                           §
                                                                 §        CHAPTER 11
                                 1
                  DEBTORS.                                       §
                                                                 §        Jointly Administered
                                                                 §

         ORDER (A) APPROVING THE SALE OF SUBSTANTIALLY ALL ASSETS AND (B)
            AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
                              EXECUTORY CONTRACTS

                This matter having come before the Court upon the motion (the “Motion”) of Buffet G.P.,

     Inc. and Buffet Partners, L.P. (the “Debtor”) in the above-captioned chapter 11 case (the

     “Chapter 11 Case”), pursuant to sections 363 and 365 of chapter 11 of title 11 of the United

     States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 6004 and 6006 of the

     Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for an order (I) approving the

     procedures (the “Sale Procedures”) for (a) the sale of substantially all of the Debtor’s assets (the


     1
         The Debtors in these chapter 11 cases are Buffet Partners, L.P. and Buffet G.P., Inc.

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 “Sale”) pursuant to that certain Asset Purchase Agreement, dated as of March 28, 2014, between

 the Debtor and Chatham Credit Management III, LLC (or its designee) (the “Purchaser”), a copy

 of which is attached hereto as Exhibit A (the “Purchase Agreement”) 2 (the assets to be sold being

 more fully described in the Motion, and collectively defined in the Purchase Agreement, are

 hereinafter referred to as the “Acquired Assets”), free and clear of all liens, claims and

 encumbrances, other than Permitted Exceptions, (b) the assumption and assignment of certain

 executory contracts, and (c) the establishment of cure amounts, ((a) through (c) above

 collectively referred to herein as the “Transactions”), (II) setting a hearing date for the approval

 of the Sale (the “Sale Hearing”) and (III) approving the form of notice of the Sale Hearing; and

 the Court having reviewed and considered the Motion and the Purchase Agreement, the

 objections thereto, if any, the arguments of counsel made, and the evidence adduced at the Sale

 Hearing, at which time all interested parties were offered an opportunity to be heard with respect

 to the Sale; and it appearing that the Sale is in the best interests of the Debtor, its estate, its

 creditors, and all other parties in interest; and upon the record of the Sale Hearing and this

 Chapter 11 Case, and after due deliberation thereon, and good cause appearing therefore;

         THE COURT HEREBY FINDS, DETERMINES AND CONCLUDES THAT: 3

         A.         Sale Procedures Order. The Court entered an order on March 24, 2014 (Docket

 No. 216), granting certain of the relief requested in the Motion and setting the Sale Hearing to

 approve the Sale.




 2
         Capitalized terms used herein but not defined herein shall have the meaning ascribed to such terms in the
         Purchase Agreement.
 3
         Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
         findings of fact when appropriate. See Bankruptcy Rule 7052.



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         B.         Jurisdiction and Venue.      The Court has jurisdiction to authorize the Sale

 pursuant to 28 U.S.C. §§ 157(b)(1) and 1334(b). Venue of this Chapter 11 Case in this district is

 proper under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding within the meaning of 28

 U.S.C. § 157(b)(2).

         C.         Statutory Predicates. The statutory predicates for the relief granted herein are

 sections 105(a), 363 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and

 6006.

         D.         Notice. Notice of the Sale, including notice of the Sale Hearing (the “Sale

 Notice”), was transmitted to all parties who have previously expressed an interest in the

 Acquired Assets or who may have been interested in purchasing the Acquired Assets.

         E.         Opportunity to Object. A reasonable opportunity to object and to be heard with

 respect to the Motion and the relief requested therein has been given, in light of the

 circumstances, to all interested persons and entities.

         F.         Corporate Authority. The Debtor has the legal power and authority to convey

 all of its right, title and interest in and to the Acquired Assets. The Debtor has (i) full power and

 authority to execute the Purchase Agreement and all other documents contemplated thereby, and

 (ii) the necessary power and authority to consummate the Sale. No consents or approvals, other

 than those expressly provided for in the Purchase Agreement or in the schedules thereto, are

 required for the Debtor to close the Sale.

         G.         Business Justification. Sound business reasons exist for the Sale. Entry into the

 Purchase Agreement and consummation of the Transactions constitute the Debtor’s exercise of

 sound business judgment and such acts are in the best interests of the Debtor, its estate, and all

 parties in interest. The Court finds that the Debtor has articulated good and sufficient business



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 reasons justifying the Sale. Such business reasons include, but are not limited to, the following:

 (i) the Purchase Agreement constitutes the highest and best offer for the Acquired Assets; (ii) the

 Purchase Agreement and the closing thereon will present the best opportunity to realize the value

 of the Acquired Assets on a going concern basis and avoid decline and devaluation of the

 Acquired Assets; and (iii) any plan would have likely yielded, at best, the same economic result

 (i.e., the sale of a substantial portion of the Debtor’s assets creating a residual fund against which

 the Prepetition Secured Lenders would have secured claims).

         H.         Arm’s Length Sale.     The Purchase Agreement and the Transactions were

 negotiated, and have been and are undertaken, by the Debtor and Purchaser at arms’ length

 without collusion or fraud, and in good faith within the meaning of section 363(m) of the

 Bankruptcy Code. As a result of the foregoing, the Debtor and Purchaser are entitled to the

 protections of section 363(m) of the Bankruptcy Code.           Moreover, neither the Debtor nor

 Purchaser engaged in any conduct that would cause or permit the Purchase Agreement, the

 consummation of the Transactions or the assumption and assignment of the Assumable

 Executory Contracts to be avoided, or costs or damages to be imposed, under section 363(n) of

 the Bankruptcy Code.

         I.         Good Faith Purchaser.      The Purchaser is a good faith purchaser under

 Bankruptcy Code section 363(m) and, as such, is entitled to all of the protections afforded

 thereby.

         J.         Credit Bid. The Prepetition Secured Lenders hold secured claims in, on and

 against the Debtor, its estate and property of the estate, arising in connection with the Prepetition

 Financing, including a claim for principal and accrued interest, in an amount of not less than $39

 million (the “Prepetition Secured Claims”).          Prior to the Closing, the Prepetition Secured



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 Lenders shall assign to Purchaser, if necessary, a portion of the Prepetition Secured Claims. The

 Purchaser shall use a portion of the Prepetition Secured Claims, aggregating at least $21,900,000

 million, to credit bid, and such credit bid is valid and proper pursuant to the sale procedures set

 forth in the Motion and Bankruptcy Code sections 363(b) and 363(k) (the “Credit Bid”).

         K.         Consideration. The Purchase Price is the highest, best and only offer received by

 the Debtor, and the Purchase Price constitutes reasonably equivalent value for the Acquired

 Assets under the Bankruptcy Code and other applicable law. A sale of the Acquired Assets other

 than one free and clear of all liens, claims and encumbrances (other than Permitted Exceptions)

 would materially and adversely impact the Debtor’s bankruptcy estate, would yield substantially

 less value for the Debtor’s estate, with less certainty than the available alternatives and thus the

 alternative would be of substantially less benefit to the Debtor’s estate. Purchaser would not

 have entered into the Purchase Agreement and would not consummate the Transactions, thus

 adversely affecting the Debtor, its estate, and its creditors, if the sale of the Acquired Assets,

 including the assignment of the Executory Contracts, to Purchaser was not free and clear of all

 liens, claims and encumbrances (other than Permitted Exceptions), or if Purchaser would, or in

 the future could, be liable for any such liens, claims or encumbrances. Therefore, the Sale free

 and clear of all liens, claims and encumbrances, other than Permitted Exceptions, as

 contemplated by the Purchase Agreement, is in the best interests of the Debtor, its estate and

 creditors, and all other parties in interest. In reaching this determination, the Court has taken into

 account both the consideration to be realized directly by the Debtor and the indirect benefits of

 such Sale for the Debtor’s employees, the Debtor’s vendors and suppliers, and the public served,

 directly and indirectly, by the functions performed by the Debtor’s employees and the Debtor’s

 business.



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         L.         Free and Clear. The Debtor may sell the Acquired Assets free and clear of all

 liens, claims and encumbrances (other than any Permitted Exceptions) because, with respect to

 each creditor asserting a lien, claim or encumbrance, one or more of the standards set forth in

 Bankruptcy Code § 363(f)(1)-(5) has been satisfied. Those holders, if any, of liens, claims or

 encumbrances who did not object or withdrew objections to the Sale are deemed to have

 consented to the Sale pursuant to section 363(f)(2) of the Bankruptcy Code. Those holders of

 liens, claims or encumbrances who did object fall within one or more of the other subsections of

 section 363(f) Bankruptcy Code.

         M.         Assumption of Executory Contracts. The Debtor has demonstrated that it is an

 exercise of its sound business judgment to assume and assign and sell certain of the Assumable

 Executory Contracts (the “Assumed Executory Contracts”), including certain unexpired real

 property leases (the “Assumed Unexpired Leases”), to Purchaser in connection with the

 consummation of the Sale, and the assumption, assignment, and sale of the Assumed Executory

 Contracts and the Assumed Unexpired Leases is in the best interests of the Debtor, its estate, its

 creditors, and all parties in interest.    The Executory Contracts being assigned and sold to

 Purchaser are an integral part of the Acquired Assets being purchased by Purchaser, and

 accordingly, the assumption, assignment, and sale of the Assumed Executory Contracts and

 Assumed Unexpired Leases are reasonable and enhance the value of the Debtor’s estate.

         N.         Cure/Adequate Assurance. The Debtor has filed with the Court and served on

 all non-debtor parties to all known Executory Contracts that the Debtor may assume and assign

 to the Purchaser a notice setting forth, among other things, all such known Executory Contracts

 and the Debtor’s estimate of cure costs with respect to each such Executory Contract according

 to the Debtor’s books and records (the “Cure Notice”).         For purposes of this Order, and



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 notwithstanding anything to the contrary which may be contained in this Order, the Executory

 Contracts (including unexpired leases) identified on Schedule A hereto shall not be deemed to be

 Assumed Executory Contracts or Assumed Unexpired Leases, Acquired Assets or Purchased

 Assets and instead any assumption or rejection of leases and contracts on Schedule A or cure

 amounts related thereto shall only be by further order of this Court, and all objections related

 thereto are expressly reserved. Purchaser has provided or will provide adequate assurance of

 cure of any default existing with respect to any of the Assumed Executory Contracts and

 Assumed Unexpired Leases, within the meaning of section 365(b)(1)(A) of the Bankruptcy

 Code. Purchaser has provided adequate assurance of compensation to any party for any actual

 pecuniary loss to such party resulting from a default prior to the date of the assignment and

 assumption of any of the Assumed Executory Contracts and Assumed Unexpired Leases within

 the meaning of section 365(b)(1)(B) of the Bankruptcy Code. Purchaser has provided adequate

 assurance of its future performance of and under any of the Assumed Executory Contracts and

 Assumed Unexpired Leases, within the meaning of section 365(b)(1)(C) of the Bankruptcy

 Code.

         O.         No Intentional Fraudulent Transfer. The Purchase Agreement was not entered

 into for the purpose of hindering, delaying or defrauding creditors under the Bankruptcy Code

 and under the laws of the United States, any state, territory, possession, or the District of

 Columbia.

         P.         Purchaser Not a Successor. Purchaser is not holding itself out to the public as a

 continuation of the Debtor. The Sale and related Transactions are not and do not amount to a

 consolidation, merger or de facto merger of Purchaser and the Debtor and/or the Debtor’s estate,

 there is not substantial continuity between Purchaser and the Debtor, there is no continuity of



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 enterprise between the Debtor and Purchaser, Purchaser is not a mere continuation of the Debtor

 or the Debtor’s estate, and Purchaser does not constitute a successor to the Debtor or the

 Debtor’s estate to the extent allowed under state law.

         Q.         Legal, Valid Transfer. The transfer of the Acquired Assets to Purchaser will be

 a legal, valid, and effective transfer of the Acquired Assets, and will vest Purchaser with all right,

 title, and interest of the Debtor to the Acquired Assets free and clear of all liens, claims and

 encumbrances, other than Permitted Exceptions, including, but not limited to all claims arising

 under doctrines of successor liability, to the extent allowed under state law.

         R.         Not a Sub Rosa Plan. The Sale does not constitute a sub rosa chapter 11 plan for

 which approval has been sought without the protections that a disclosure statement would afford.

 The Sale neither impermissibly restructures the rights of Debtor’s creditors nor impermissibly

 dictates a liquidating plan for the Debtor.

         S.         Prompt Consummation. Time is of the essence in consummating the Sale.

 Accordingly, to maximize the value of the Debtor’s assets, it is essential that the sale of the

 Acquired Assets occur as soon as practicable. Accordingly, there is cause to lift the stay

 contemplated by Bankruptcy Rules 6004 and 6006. Approval of the Purchase Agreement and

 assumption, assignment, and sale of the Assumed Executory Contracts and Assumed Unexpired

 Leases, and consummation of the Sale of the Acquired Assets at this time are in the best interests

 of the Debtor, its creditors, its estate, and all parties in interest.

         Based upon all of the foregoing, and after due deliberation, THE COURT ORDERS,

 ADJUDGES, AND DECREES THAT:




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 I.      SALE OF THE ACQUIRED ASSETS

                    1.   Any objections to the entry of this Order or the relief granted herein that

 have not been withdrawn, waived, or settled, or not otherwise resolved pursuant to the terms

 hereof, hereby are denied and overruled on the merits with prejudice.

                    2.   The Purchase Agreement (including without limitation the Credit Bid) and

 the Sale of the Acquired Assets to Purchaser, are hereby approved and authorized in all respects.

                    3.   The consideration provided by Purchaser for the Acquired Assets under

 the Purchase Agreement is fair and reasonable and shall be deemed for all purposes to constitute

 reasonably equivalent value and fair consideration under the Bankruptcy Code and any other

 applicable law, and the Sale may not be avoided, or costs or damages imposed on or awarded

 against any party in interest in these bankruptcy cases under section 363(n) or any other

 provision, of the Bankruptcy Code.

                    4.   The Sale and the Transactions are undertaken by Purchaser in good faith.

 Purchaser is a purchaser in good faith of the Acquired Assets as that term is used in section

 363(m) of the Bankruptcy Code, and Purchaser is entitled to all of the protections afforded by

 section 363(m) of the Bankruptcy Code. Accordingly, the reversal or modification on appeal of

 the authorization provided herein to consummate the Sale shall not affect the validity of the Sale

 (including the assumption, assignment, and sale of any of the Assumed Executory Contracts and

 Assumed Unexpired Leases), unless such authorization is duly stayed pending such appeal.

                    5.   Pursuant to sections 363(b) and 363(f) of the Bankruptcy Code, upon the

 Closing Date, under the Purchase Agreement, the Acquired Assets shall be transferred to

 Purchaser free and clear of (a) all liens, claims and encumbrances, other than Permitted

 Exceptions, (b) any restriction on the use, voting, transfer, receipt of income or other exercise of



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 any attributes of ownership of the Acquired Assets and (c) any claim, whether arising prior to or

 subsequent to the commencement of this Chapter 11 Case, arising under doctrines of successor

 liability, to the extent allowed under state law.

                    6.   Except as expressly provided in the Purchase Agreement, Purchaser is not

 assuming nor shall it or any affiliate of Purchaser be in any way liable or responsible, as a

 successor, to the extent allowed under state law, or otherwise, for any liabilities, debts, or

 obligations of the Debtor in any way whatsoever relating to or arising from the Debtor’s

 ownership or use of the Acquired Assets prior to the consummation of the transactions

 contemplated by the Purchase Agreement, or any liabilities calculable by reference to the Debtor

 or its operations or the Acquired Assets, or relating to continuing or other conditions existing on

 or prior to the Closing Date, which liabilities, debts, and obligations are hereby extinguished

 insofar as they may give rise to liability, successor liability, to the extent allowed under state law,

 or otherwise, against Purchaser or any affiliate of Purchaser.

                    7.   The Debtor is authorized and directed to take any and all actions necessary

 or appropriate to: (a) consummate the Sale (including, without limitation, to convey to Purchaser

 any and all of the Acquired Assets intended to be conveyed pursuant to the Purchase Agreement)

 and the Closing of the Transactions in accordance with the Purchase Agreement and this Order;

 and (b) perform, consummate, implement and close fully the Purchase Agreement together with

 all additional instruments and documents that may be reasonably necessary or desirable to

 implement the Purchase Agreement. The Debtor and Purchaser shall have no obligation to

 proceed with the Closing of the Purchase Agreement until all conditions precedent to their

 obligations to do so as set forth in the Purchase Agreement have been satisfied or waived. The

 obligations of Purchaser under the Purchase Agreement to consummate the transactions



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 contemplated therein at the Closing are subject to the satisfaction of the conditions precedent set

 forth in Article VI of the Purchase Agreement on the Closing Date.

                    8.   Purchaser is hereby authorized in connection with the consummation of

 the Sale to allocate the Acquired Assets and the Assumed Executory Contracts and Assumed

 Unexpired Leases among its affiliates, designees, assignees, and/or successors in a manner as it

 in its sole discretion deems appropriate and to assign, sublease, sublicense, transfer or otherwise

 dispose of any of the Acquired Assets or the rights under any of the Assumed Executory

 Contracts or Assumed Unexpired Leases to its affiliates, designees, assignees, and/or successors

 with all of the rights and protections accorded under this Order and the Purchase Agreement, and

 the Debtor shall cooperate with and take all actions reasonably requested by Purchaser to

 effectuate any of the foregoing.

 II.     ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS

                    9.   The Debtor is hereby authorized, pursuant to the Purchase Agreement and

 in accordance with sections 105(a), 363, 365(b)(1) and (f)(2) of the Bankruptcy Code, to:

 (a) assume the Assumed Executory Contracts and Assumed Unexpired Leases; (b) sell, assign

 and transfer to Purchaser each of the Assumed Executory Contracts and Assumed Unexpired

 Leases designated by Purchaser at Closing in each case free and clear of all liens, claims and

 encumbrances (other than Permitted Exceptions, to the extent applicable); and (c) execute and

 deliver to Purchaser such assignment documents as may be necessary to sell, assign and transfer

 the Assumed Executory Contracts and Assumed Unexpired Leases. Within three (3) Business

 Days after Closing, the Debtor shall file with the Court a list of the Executory Contracts

 comprising the Assumed Executory Contracts and Assumed Unexpired Leases that are actually

 assumed by the Debtor and assigned to the Purchaser. Notwithstanding anything to the contrary



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 which may be contained herein, all rights of the counterparties to the Executory Contracts set

 forth on Schedule A to oppose assumption and/or assumption and assignment and/or rejection,

 and / or the proposed cure amounts as it relates to the assumption, assignment, or rejection of

 such Executory Contracts are expressly reserved.

                    10.   The Assumed Executory Contracts and Assumed Unexpired Leases, upon

 assignment and sale to Purchaser, shall be deemed valid and binding, in full force and effect in

 accordance with their terms. Upon assignment and sale to Purchaser pursuant to the Purchase

 Agreement, and in accordance with sections 363 and 365 of the Bankruptcy Code, Purchaser

 shall be fully and irrevocably vested in all right, title and interest of the Debtor in, to or under

 each Assumed Executory Contract and Assumed Unexpired Lease.

                    11.   All defaults or other obligations of the Debtor under the Assumed

 Executory Contracts and Assumed Unexpired Leases arising or accruing prior to the Closing

 Date (without giving effect to any acceleration clauses or any default provisions of the kind

 specified in section 365(b)(2) of the Bankruptcy Code) shall be deemed cured by the payment or

 other satisfaction of the amounts (the “Cure Amounts”) set forth in the Cure Notice or as

 otherwise agreed to by the parties thereto. Unless a non-debtor party to an Executory Contract

 that may become an Assumed Executory Contract or an Assumed Unexpired Lease filed an

 Assumption Objection with respect to the Cure Amount by the Cure Objection Deadline, (i) such

 Cure Amount shall be controlling at the amount set forth in the applicable Cure Notice and the

 non-debtor party to such Assumed Executory Contract or Assumed Unexpired Lease is hereby

 forever bound by such Cure Amount; (ii) payment of such Cure Amount shall constitute a cure

 of all defaults under such Executory Contract; (iii) payment of such Cure Amount shall

 constitute consent to the assignment of such Executory Contract to Purchaser; and (iv) such Cure



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 Amount is not subject to further dispute or audit, including based on performance prior to the

 assumption, assignment and sale thereof, irrespective of whether such Assumed Executory

 Contract or Assumed Unexpired Lease contains an audit or similar clause.

                    12.   Any Assumption Objections (as to the Executory Contracts identified in

 Schedule A) not resolved at the Sale Hearing shall be resolved at such other hearing scheduled

 on the Assumption Objection that is reasonably acceptable to Purchaser, Debtor and Assumption

 Objection party. With respect to any Executory Contract to which an Assumption Objection is

 filed, the Executory Contract shall not become an Assumed Executory Contract or Assumed

 Unexpired Lease until (i) the date on which the Assumption Objection is consensually resolved

 by the parties or an order of the Court, and (ii) the Court approves assumption of such Executory

 Contract. On the date upon which any Executory Contract becomes an Assumed Executory

 Contract or an Assumed Unexpired Lease, Purchaser shall assume and undertake to pay, perform

 and discharge when due or required to be performed all of the Debtor’s obligations under such

 Assumed Executory Contract or Assumed Unexpired Lease.

                    13.   Purchaser shall pay or otherwise satisfy the Cure Amounts as soon as

 reasonably practicable following the date upon which any Executory Contract or Unexpired

 Lease becomes an Assumed Executory Contract or an Assumed Unexpired Lease as a condition

 to the assumption and assignment of such Executory Contract.

                    14.   Upon the assumption and assignment of an Assumed Executory Contract

 or Assumed Unexpired Lease, each non-Debtor party to such Assumed Executory Contract or

 Assumed Unexpired Lease is hereby forever barred, estopped, and permanently enjoined from

 asserting against Purchaser or the Acquired Assets any default, additional amounts or other

 claims existing as of the date of such assumption and assignment related to such Assumed



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 Executory Contract or Assumed Unexpired Lease, whether declared or undeclared or known or

 unknown, and such non-Debtor parties to an Assumed Executory Contract or Assumed

 Unexpired Lease are also forever barred, estopped, and permanently enjoined from asserting

 against Purchaser any counterclaim, defense or setoff, or any other claim, lien or interest,

 asserted or assertable against the Debtor related to such Assumed Executory Contract or

 Assumed Unexpired Lease.

                    15.   There shall be no rent accelerations, assignment fees, increases or any

 other fees charged or chargeable to Purchaser as a result of the assumption, assignment and sale

 of the Assumed Executory Contracts and Assumed Unexpired Leases. Any provisions in any

 Assumed Executory Contract or Assumed Unexpired Lease that prohibit or condition the

 assignment of such contract or lease, allow the party to such contract or lease to terminate,

 recapture, impose any penalty, condition renewal or extension, or modify any term or condition

 upon the assignment of such contract or lease, constitute unenforceable anti-assignment

 provisions, and are void and of no force and effect. The validity of the assumption, assignment

 and sale of the Assumed Executory Contracts and Assumed Unexpired Leases to Purchaser shall

 not be affected by any existing dispute between the Debtor and any non-Debtor party to such

 contracts or leases. Any party that may have had the right to consent to the assignment of its

 Executory Contract is determined to have consented for the purposes of section 365(e)(2)(A)(ii)

 of the Bankruptcy Code.

                    16.   The designation of an agreement as an Assumed Executory Contract or

 Assumed Unexpired Lease shall not be a determination that such agreement is an executory

 contract within the meaning of section 365 of the Bankruptcy Code.




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 III.    LIMITATIONS ON LIABILITY AND RELEASE OF ENCUMBRANCES

                    17.   No bulk sales law or any similar law of any state or other jurisdiction shall

 apply in any way to the Sale and the Transactions.            Except as set forth in the Purchase

 Agreement, no brokers were involved in consummating the Sale or the Transactions, and no

 brokers’ commissions are due to any person or entity in connection with the Sale or the

 Transactions.

                    18.   Upon the Closing, (a) pursuant to the terms of the Purchase Agreement,

 the Debtor is hereby authorized to consummate, and shall be deemed for all purposes to have

 consummated, the sale, transfer and assignment of the Acquired Assets to Purchaser free and

 clear of any and all liens, claims and encumbrances, other than Permitted Exceptions, and (b)

 except as otherwise expressly provided in the Purchase Agreement, all liens, claims and

 encumbrances, other than Permitted Exceptions, shall be and hereby are released, terminated and

 discharged as to Purchaser and the Acquired Assets.

                    19.   Upon the Closing, and except as otherwise expressly provided in the

 Purchase Agreement, Purchaser shall not be liable for any claims against, and liabilities and

 obligations of, the Debtor or any of the Debtor’s predecessors or affiliates. Without limiting the

 generality of the foregoing, (a) other than as specifically set forth in the Purchase Agreement,

 Purchaser shall have no liability or obligation (x) to pay wages, bonuses, severance pay, benefits

 (including, without limitation, contributions or payments on account of any under-funding with

 respect to any pension plans) or any other payment to employees of the Debtor, or (y) in respect

 of any employee pension plan, employee health plan, employee retention program, employee

 incentive program or any other similar agreement, plan or program to which the Debtor is a party

 (including, without limitation, liabilities or obligations arising from or related to the rejection or



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 other termination of any such plan, program agreement or benefit), and (b) other than as

 specifically set forth in the Purchase Agreement, Purchaser shall in no way be deemed a party to

 or assignee of any such employee benefit, agreement, plan or program, and all parties to any

 such employee benefit, agreement, plan or program are enjoined from asserting against

 Purchaser any claims arising from or relating to such employee benefit, agreement, plan or

 program.

                    20.   Any and all notices, if any, required to be given to Debtor’s employees

 pursuant to the Worker Adjustment and Retraining Adjustment Act (the “WARN Act”), or any

 similar federal or state law, shall be the sole responsibility and obligation of the Debtor, and

 Purchaser shall have no responsibility or liability therefore.

                    21.   Purchaser shall not be deemed a successor of or to the Debtor or the

 Debtor’s estate with respect to any liens, claims and encumbrances (other than Permitted

 Exceptions) against the Debtor or the Acquired Assets, to the extent allowed under state law, and

 Purchaser shall not be liable in any way for any such liens, claims and encumbrances (other than

 Permitted Exceptions) including, without limitation, the Excluded Assets. Upon Closing the

 Sale, all creditors, employees and equityholders of the Debtor are permanently and forever

 barred, restrained and enjoined from (a) asserting any claims or enforcing remedies, or

 commencing or continuing in any manner any action or other proceeding of any kind, against

 Purchaser or the Acquired Assets on account of any of the liens, claims and encumbrances, other

 than Permitted Exceptions, or (b) asserting any claims or enforcing remedies under any theory of

 successor liability, to the extent allowed under state law, de facto merger, substantial continuity

 or similar theory.




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                    22.   On the Closing Date, this Order shall be construed and shall constitute for

 any and all purposes a full and complete general assignment, conveyance and transfer of all of

 the Acquired Assets or a bill of sale transferring good and marketable title in such Acquired

 Assets to Purchaser, on the Closing Date pursuant to the terms of the Purchase Agreement.

                    23.   This Order is and shall be (a) effective as a determination that, upon

 Closing, all liens, claims and encumbrances (other than Permitted Exceptions) existing as to the

 Acquired Assets conveyed to Purchaser have been and hereby are adjudged and declared to be

 unconditionally released, discharged and terminated, and (b) binding upon and govern the acts of

 all entities, including, all filing agents, filing officers, title agents, title companies, recorders of

 mortgages, recorders of deeds, registrars of deeds, administrative agencies or units,

 governmental departments or units, secretaries of state, federal, state and local officials and all

 other persons and entities who may be required by operation of law, the duties of their office, or

 contract, to accept, file, register or otherwise record or release any documents or instruments, or

 who may be required to report or insure any title or state of title in or to any of the Acquired

 Assets conveyed to Purchaser. All such entities described above in this paragraph are authorized

 and specifically directed to strike all recorded liens, claims and encumbrances (other than

 Permitted Exceptions) against the Acquired Assets from their records, official and otherwise.

                    24.   If any person or entity that has filed statements or other documents or

 agreements evidencing liens, claims and encumbrances (other than Permitted Exceptions) on or

 in the Acquired Assets shall not have delivered to the Debtor prior to the Closing, in proper form

 for filing and executed by the appropriate parties, termination statements, instruments of

 satisfaction, releases of liens, and any other documents necessary for the purpose of documenting

 the release of all such liens, claims or encumbrances, the Debtor or Purchaser are hereby



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 authorized and directed to execute and file such statements, instruments, releases and other

 documents on behalf of such person or entity with respect to the Acquired Assets.

                    25.   Each and every federal, state and governmental agency or department, and

 any other person or entity, is hereby directed to accept any and all documents and instruments

 necessary and appropriate to consummate the transactions contemplated by the Purchase

 Agreement.

                    26.   Any and all Acquired Assets in the possession or control of any person or

 entity, including, without limitation, any former vendor, supplier or employee of the Debtor shall

 be transferred to Purchaser free and clear of liens, claims and encumbrances, other than and

 Permitted Exceptions.

                    27.   On the Closing Date, each active employee who becomes an employee of

 the Purchaser (each an “Affected Employee”) and who has an account balance under the 401(k)

 Plan maintained by the Debtor prior to the Closing Date (the “401(k) Plan”) shall be 100%

 vested in such account effective at the Closing Date, notwithstanding any vesting schedule

 otherwise provided under the 401(k) Plan.         Within 180 days following the Closing Date,

 Purchaser shall establish a defined contribution plan and trust intended to qualify under Section

 401(a) and Section 501(a) of the Internal Revenue Code (the “New Furr’s Plan”). Promptly

 following the establishment of the New Furr’s Plan, Debtor shall direct the trustee of the 401(k)

 Plan to transfer directly from the trust established under the 401(k) Plan to the trust established

 under the New Furr’s Plan an amount of assets equal to the aggregate account balances under the

 401(k) Plan of all Affected Employees, valued as of the day immediately preceding the date of

 transfer. Upon such transfer, the New Furr’s Plan shall assume all liabilities for accrued benefits

 under the 401(k) Plan in respect of Affected Employees and the 401(k) Plan shall be relieved of



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 all such liabilities. Assets shall be transferred in cash with the exception that outstanding loans

 of Affected Employees from the 401(k) Plan shall be transferred in-kind. Pending such transfer,

 Debtor shall maintain the 401(k) Plan accounts of the Affected Employees on the same basis as

 other former employees of Debtor. The New Furr’s Plan will (i) provide that the Affected

 Employees are 100% vested in the amounts transferred from the 401(k) Plan (and any

 subsequent investment earnings on such amounts), (ii) accommodate the in-kind transfer of the

 outstanding loans and honor such loans in accordance with their terms, and (iii) provide for such

 other benefits, rights and features as required in order to satisfy Internal Revenue Code Section

 411(d)(6). The parties shall cooperate in the filing of the documents required by the transfer of

 assets and liabilities described in this paragraph 27.

 IV.     VALIDITY OF PREPETITION LIENS

                    28.   The obligations of and claims against the Debtor or its estate under or

 arising from the Prepetition Financing (the “Prepetition Obligations”) shall constitute the legal

 valid and binding obligations of the Debtor and its estate.         No portion of the Prepetition

 Obligations shall be subject to avoidance, recharacterization, subordination or recovery pursuant

 the Bankruptcy Code or applicable non-bankruptcy law.

                    29.   The Debtor and its bankruptcy estate shall forever release any claims,

 counterclaims, causes of action, defenses, set-offs and challenges to the validity, enforceability,

 priority or amount of the claims, liens and security interests granted for the benefit of the

 Prepetition Secured Lenders whether arising under the Bankruptcy Code or otherwise, against

 the Prepetition Secured Lenders, and their respective affiliates, agents, officers, directors,

 employees, attorneys, and advisors with respect to the Prepetition Obligations.




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 V.      USE OF PROCEEDS AND SATISFACTION OF PREPETITION SECURED
         CLAIMS

                    30.   Upon the Closing, the Prepetition Obligations shall be deemed to be

 satisfied in an amount equal to the amount of such Prepetition Obligations used in connection

 with the Credit Bid.       Upon Closing, the liens on the Acquired Assets granted under the

 Prepetition Financing to secure the Prepetition Obligations shall be deemed released and the

 Prepetition Secured Lenders (as defined in the Motion) shall take all reasonable actions to

 confirm removal of any such liens. Any portion of the Prepetition Obligations that is not used as

 part of the Credit Bid and any liens on assets (other than the Acquired Assets) granted under the

 Prepetition Financing and related security agreements to secure the Prepetition Obligations shall

 not be affected by this Order or the Closing.

 VI.     RESOLUTIONS OF OBJECTIONS

                    31.   Resolution of Informal Objection of State of Texas. Debtor shall timely

 file final sales tax and franchise tax returns as required by applicable state law and by 28 U.S.C.

 §§ 959(b) and 960.


                    32.   Resolution of Objection of Certain Local Tax Authorities [Docket Nos.

 197, 283 and 286]. Notwithstanding anything else in this Order, any ad valorem taxes plus

 accrued statutory interest related to the Purchased Assets that are currently due and owing

 (including any delinquent taxes) shall be paid at Closing. The Purchased Assets shall be sold

 subject to the liens for ad valorem taxes which have been incurred but for which bills have not

 yet been received or which are not yet due (the “Current Taxes”); liability for these Current

 Taxes shall be assumed and paid by the Purchaser in the ordinary course of business




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                    33.   Resolution of Objection of Boston & Mays, LLC [Docket No. 242].

 Debtors and Boston and Mays, LLC have resolved this objection and agree that Debtors paid

 certain amounts to Boston and Mays, LLC for the February 2014 and March 2014 CAM amounts

 as post petition obligations. Debtors and Boston and Mays, LLC further agree that the amounts

 listed on the Cure Notice for February 2014 rent and January 2014 CAM are correct.

 VII.    ADDITIONAL PROVISIONS

                    34.   This Order and the Purchase Agreement shall be binding in all respects

 upon all creditors and interestholders of the Debtor, all non-Debtor parties to the Assumed

 Executory Contracts and Assumed Unexpired Leases, all successors and assigns of the Debtor

 and its affiliates and subsidiaries, and any trustees, examiners, “responsible persons” or other

 fiduciaries appointed in the Debtor’s bankruptcy case or upon a conversion to chapter 7 under

 the Bankruptcy Code, and the Purchase Agreement and related documents shall not be subject to

 rejection or avoidance under any circumstances.

                    35.   The Purchase Agreement may be modified, amended, or supplemented by

 the parties thereto, in a writing signed by the parties thereto, and in accordance with the terms

 thereof, without further order of the Court, provided that any such modification, amendment or

 supplement does not have a material adverse effect on the Debtor’s estate.

                    36.   Nothing contained in any order entered in the above-captioned bankruptcy

 case subsequent to entry of this Order, nor in any chapter 11 plan confirmed in this Chapter 11

 Case, shall conflict with or derogate from the provisions of the Purchase Agreement or the terms

 of this Order.

                    37.   This Order shall be effective immediately upon entry, and any stay of

 orders provided for in Bankruptcy Rules 6004(h), 6006(d) and any other provision of the



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 Bankruptcy Code or Bankruptcy Rules shall not apply, is expressly lifted and this Order is

 immediately effective and enforceable.

                    38.   The provisions of this Order are nonseverable and mutually dependent.

                    39.   The failure specifically to include or make reference to any particular

 provisions of the Purchase Agreement in this Order shall not diminish or impair the effectiveness

 of such provision, it being the intent of the Court that the Purchase Agreement is authorized and

 approved in its entirety.

                    40.   To the extent applicable, the automatic stay pursuant to section 362 of the

 Bankruptcy Code is hereby lifted with respect to the Debtor to the extent necessary, without

 further order of the Court (a) to allow Purchaser to give the Debtor any notice provided for in the

 Purchase Agreement, and (b) to allow Purchaser to take any and all actions permitted by the

 Purchase Agreement.

                    41.   To the extent permitted by section 525 of the Bankruptcy Code, no

 governmental unit may revoke or suspend any permit relating to the operation of the Acquired

 Assets sold, transferred or conveyed to Purchaser on account of the filing or pendency of this

 Chapter 11 Case or the consummation of the Sale.

                    42.   The transfer of the Acquired Assets pursuant to the Sale is a transfer

 pursuant to section 1146(a) of the Bankruptcy Code, and accordingly, the “issuance, transfer, or

 exchange of a security, or the making or delivery of an instrument of transfer under a plan

 confirmed under section 1129 of this title, may not be taxed under any law imposing a stamp tax

 or similar tax.” 11 U.S.C. § 1146(a).

                    43.   This Court retains jurisdiction, even after the closing of this Chapter 11

 Case, to: (a) interpret, implement and enforce the terms and provisions of this Order (including



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 the injunctive relief provided in this Order) and the terms of the Purchase Agreement, all

 amendments thereto and any waivers and consents thereunder; (b) protect Purchaser, or any of

 the Acquired Assets, from and against any of the liens, claims or encumbrances; (c) compel

 delivery of all Acquired Assets to Purchaser; and (d) resolve any disputes arising under or related

 to the Purchase Agreement, the Sale or the Transactions, or Purchaser’s peaceful use and

 enjoyment of the Acquired Assets.

                                   # # # END OF ORDER # # #




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                           SCHEDULE A
     EXECUTORY CONTRACTS TO BE ASSUMED OR REJECTED BY FURTHER
                          COURT ORDER

 All Executory Contracts subject to the following objections:

                                                                                          Docket
                                           Objection
                                                                                           No.
 Inland Diversified Dallas Wheatland, L.L.C.’s Objection to Debtor’s Expedited Motion
 for an Order (I) Approving the Procedures for (A) the Sale of Substantially all Assets
 (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired
                                                                                           201
 Leases (C) the Establishment of Cure Amounts, (II) Approving Form of Notice and (III)
 Setting a Hearing for the Approval of the Sale, filed by Inland Diversified Dallas
 Wheatland, L.L.C.
 San Juan Plaza Partners, LP’s Joinder in Objection to Debtor’s Expedited Motion for
 an Order (I) Approving the Procedures for (A) the Sale of Substantially all Assets (B)
 the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases         204
 (C) the Establishment of Cure Amounts, (II) Approving Form of Notice and (III) Setting
 a Hearing for the Approval of the Sale, filed by San Juan Plaza Partners
 Objection of National Retail Properties to the Debtors’ Expedited Motion to Approve
 Sale Procedures for the Sale of Substantially all of the Debtors’ Assets, filed by        207
 National Retail Properties, Inc.
 Objection of Consolidated Edison Solutions, Inc. to the Proposed Cure Amount, filed
                                                                                           260
 by Consolidated Edison Solutions, Inc.
 Limited Objections of Hume Investment Advisors, LLC and Hume Arizona Holdings
 LLC to the Sale Motion, filed by Hume Investment Advisors, LLC and Hume Arizona           271
 Holdings LLC
 Objection of Arthur N. Rupe Foundation to the Proposed Cure Amount, filed by Arthur
                                                                                           276
 N. Rupe Foundation
 Limited Objections of The Richards Group, Inc. to the Sale Motion, filed by The
                                                                                           277
 Richards Group, Inc.
 Limited Objection of Bottling Group, LLC to Cure Notice and Proposed Assumption
                                                                                           280
 and Assignment of Executory Contracts, filed by Bottling Group, LLC
 Objection of PACCAR Financial Corp. to the Debtors’ Proposed Assumption and
                                                                                           282
 Assignment of “Tractor Lease,” filed by PACCAR Financial Corp.
 505 Cordova, LLC’s Objection to Cure Notice and Proposed Assumption and
 Assignment of Real Property Lease (Furr’s Store #116 Santa Fe, NM), filed by 505          288
 Cordova, LLC
 BRE/DP TX LLC’s Objection to Cure Claim, filed by BRE/DP TX LLC                           289
 Objection to Proposed Cure Amount, filed by ARC CAFEUSA001, LLC                           292




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                                                                                           Docket
                                           Objection
                                                                                            No.
 Inland Diversified Dallas Wheatland, L.L.C.’s Objection to Debtor’s Expedited Motion
 for an Order (I) Approving the Procedures for (A) the Sale of Substantially all Assets
 (B) the Assumption and Assignment of Certain Executory Contracts and Unexpired
                                                                                            294
 Leases (C) the Establishment of Cure Amounts, (II) Approving Form of Notice and (III)
 Setting a Hearing for the Approval of the Sale, filed by Inland Diversified Dallas
 Wheatland, L.L.C.
 San151NNN, LLC’s Objection to Cure Notice and Proposed Assumption and
                                                                                            295
 Assignment of Real Property Lease, filed by San151NNN, LLC
 National Retail Properties’ (I) Objection to the Debtors’ (A) Proposed Assumption and
 Assignment of Leases to Stalking Horse Bidder or Its Designee, (B) Proposed Cured
                                                                                            296
 Amounts, and (II) Demand for Security Required Pursuant to 11 U.S.C. 365(l), filed by
 National Retail Properties, Inc.
 Objection of N3 335 Plano TX, LLC to Proposed Cure Amount, filed by N3 335 Plano
                                                                                            297
 TX, LLC
 Inland Diversified Dallas Wheatland, L.L.C.’s Supplement to Its Objection to Debtor’s
 Expedited Motion for an Order (I) Approving the Procedures for (A) the Sale of
 Substantially all Assets (B) the Assumption and Assignment of Certain Executory
                                                                                            310
 Contracts and Unexpired Leases (C) the Establishment of Cure Amounts,
 (II) Approving Form of Notice and (III) Setting a Hearing for the Approval of the Sale,
 filed by Inland Diversified Dallas Wheatland, L.L.C.
 Objection of Las Palmas Riocan, L.P, as Successors to A.D.D. Holdings, L.P. to
 Amended Cure Notice, filed by Las Palmas Riocan, L.P, as Successors to A.D.D.              314
 Holdings, L.P.
 Amended Objection to Cure Notice and Proposed Assumption and Assignment of Real
                                                                                            330
 Property Lease, filed by San151NNN, LLC
 Objection to Proposed Assumption and Assignment of Real Property Lease, filed by
                                                                                            343
 San Juan Associates.
 BRE/DP TX LLC’s Supplement to its Objection to Cure Claim, filed by BRE/DP TX
                                                                                            347
 LLC




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 Prepared and submitted by:

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